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EXHIBIT A
7 GOVERNMENT
EXHIBIT

1389
S123 Cr. 251 (AKH)

FOIA Confidential Treatment Requested by JPMorgan Chase Bank, N.A. JPMC_00785488
CONFIDENTIAL USAO_Rel_001738649

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